               IN THE SUPREME COURT OF NORTH CAROLINA

                                   No. 35PA21-2

                                 Filed 28 June 2024


IN THE MATTER OF A.J.L.H., C.A.L.W., M.J.L.H.




      On discretionary review pursuant to N.C.G.S. § 7A-31 of a unanimous decision

of the Court of Appeals, 289 N.C. App. 644 (2023), vacating the dispositional portions

of the adjudication and disposition order entered on 13 December 2019 by Judge

Tonia A. Cutchin in District Court, Guilford County. On 1 September 2023, the

Supreme Court allowed petitioner and guardian ad litem’s amended joint petition for

discretionary review. Heard in the Supreme Court on 17 April 2024.


      Mercedes O. Chut for petitioner-appellant Guilford County Department of
      Health and Human Services.

      Matthew D. Wunsche for petitioner-appellant Guardian ad Litem.

      Wendy C. Sotolongo, Parent Defender, by J. Lee Gilliam, Assistant Parent
      Defender, for respondent-appellee mother.


      BARRINGER, Justice.

      The issue before this Court is whether the Court of Appeals correctly

determined that the trial court erred in denying visitation to respondent-mother.

“The assessment of the juvenile’s best interests concerning visitation is left to the

sound discretion of the trial court and ‘appellate courts review the trial court’s

assessment of a juvenile’s best interests solely for an abuse of discretion.’ ” In re
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                                        Opinion of the Court



A.J.L.H., 384 N.C. 45, 57 (2023).

      It is difficult to overstate the Court of Appeals’ multitude of errors in this case.

The Court of Appeals ignored decades of precedent, cited authority which provides no

support for its position, and disregarded our explicit directions in our previous

opinion in this case, In re A.J.L.H., 384 N.C. 45 (2023). For the following reasons, we

reverse the Court of Appeals and remand this case directly to the trial court for any

further proceedings.

                                   I.      Background

      The underlying facts in this case are fully set out in a prior opinion of this

Court, In re A.J.L.H., 384 N.C. 45 (2023). For ease of reading, we briefly review the

relevant facts. Respondent-mother and the father1 of Anna were the subjects of an

investigation by the Guilford County Department of Health and Human Services

(DHHS) for maintaining an injurious environment and for neglecting Anna, Chris,

and Margaret2 by using improper discipline. Id. at 48–50.

      Respondents admitted that they forced Margaret to stand in a corner for many

hours at a time; whipped her with a belt, leaving bruises and marks on her neck and

back; and made her sleep on a bare floor. Respondents claimed their actions were

appropriate disciplinary measures due to Margaret’s misbehavior. Respondents also

informed social workers that they would continue to use that type of discipline until



      1 Anna’s father is not a party to this appeal.
      2 A pseudonym is used to protect the identities of the juveniles and for ease of reading.



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Margaret’s behavior improved. Id. The trial court adjudicated Margaret abused and

neglected, Anna as neglected, and Chris as neglected.

      Immediately after the adjudication hearing, the trial court held a disposition

hearing. The trial court received a court summary prepared by DHHS, a letter

prepared by Margaret, and heard testimony from the current and previous foster care

social workers.

      Even though all three children entered nonsecure DHHS custody in August

2019, respondent-mother had not entered a case plan with DHHS for reunification

with any of her children by the time of the November 2019 disposition order.

Respondent-mother’s case plan focused on improving her parenting skills, such as

completing the PATE parenting education program and implementing the skills

learned with her own children; completing and implementing recommendations made

during a psychological evaluation; attending visits with her children once the trial

court approved a schedule; “participat[ing] in shared parenting once per week via

email”; completing substance abuse and mental health assessments; completing an

anger management class; voluntarily agreeing to child support; actively seeking

employment; and maintaining contact with her social worker.

      DHHS        requested   that    respondent-mother        complete    her   parenting

psychological     and   mental   health    assessment       prior   to   DHHS    making   a

recommendation regarding visitation between Margaret and respondent-mother.

DHHS also requested that Margaret’s “therapist have input regarding visits before a


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decision is made regarding visits and that if [Margaret] does not want to attend visits

that her request[ ] be honored.” Margaret wrote a letter to the trial court stating that

she did not want to visit respondent-mother.

      Respondents3 appealed the decision of the trial court which adjudicated

Margaret as an abused and neglected juvenile. The Court of Appeals reversed the

order entered by the trial court, stating that “the trial court improperly admitted

some hearsay evidence.” In re A.J.L.H., 384 N.C. at 47. The Court of Appeals held

that the trial court’s reasoning was so “ ‘heavily reliant and intertwined with’ the

hearsay evidence that the proper remedy was to vacate the trial court’s order and

remand for a new hearing with respect to Margaret.” Id. “The Court of Appeals also

ordered the trial court to dismiss the petitions directed at Margaret’s younger

siblings.” Id. “Finally, the Court of Appeals instructed the trial court that, if it once

again adjudicated Margaret as abused or neglected, the trial court must ‘order

generous and increasing visitation between Margaret and her mother.’ ” Id.

      This Court allowed “discretionary review to reaffirm the proper role of an

appellate court in reviewing a trial court’s adjudication and disposition in a juvenile

proceeding.” Id. at 48. This Court determined that the trial court’s order contained

“sufficient findings, supported by clear, cogent, and convincing evidence, to support”

the trial court’s adjudications of the minor children. Id. The Court of Appeals decision



      3  Respondent-mother and respondent-fathers previously appealed the trial court’s
decision. However, the only respondent currently before this Court is respondent-mother.

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was reversed and remanded “for that court to properly address respondents’

arguments concerning the disposition order.” Id.

       On remand to the Court of Appeals, the court reversed “the orders of the trial

court regarding visitation and remand[ed] for further findings of facts and

conclusions of law.” In re A.J.L.H., 289 N.C. App. 644, 645 (2023).

       The Court of Appeals reviewed whether the trial court abused its discretion

with respect to not allowing visitation between respondents and their children. Id. at

649. Respondents argued that the trial court abused its discretion when: “(1) it

prohibited any visitation between [r]espondent parents and their three children; and,

(2) it concluded DHHS had made reasonable efforts to avoid taking custody of the

children.” Id. Respondents also asserted that “it was not reasonable for DHHS to seek

custody of these children because of the parents’ refusal to agree with the blanket

accusation DHHS leveled against them.” Id. Respondents also argued “the trial court

abused its discretion and erred by failing to consider and make the required factors

[sic] and determinations to support any finding it was in the children’s best interests

to deny visitation.” Id.
       The Court of Appeals held that, in previous cases in which it had denied

visitation, it has required the trial court to find factors such as: (1) whether the parent

denied visitation has a long history with Child Protective Services (CPS); (2) whether

the issues which led to the removal of the current child are related to previous issues

which led to the removal of another child; (3) whether a parent minimally


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participated, or failed to participate, in their case plan; (4) whether the parent failed

to consistently utilize current visitation; and, (5) whether the parent relinquished

their parental rights. Id. at 650 (citing In re J.L., 264 N.C. App. 408, 422 (2019)).

       The Court of Appeals further stated that the trial court was “constitutionally

and statutorily required to assess whether and to the extent visitation should be

awarded to four different parents for each of their respective children.” Id. The trial

court considered, but denied, visitation between respondent-mother and the three

children and between Anna and her father; the trial court considered and allowed

visitation between Chris and his father. When the DHHS attorney asked the trial

court about visitation for Margaret’s father, the trial court responded with “[n]o

visits.” Id. at 651.

       The Court of Appeals determined:

              The trial court failed to make specific determinations for
              each parent regarding unfitness or conduct inconsistent
              with their parental rights and, only after then, to
              determine whether parental visitation was in the best
              interests of each of their children. This absence
              demonstrates the trial court failed to make the required
              findings and conclusions and prejudicially erred in
              disposition. These failures: [sic] render the order
              manifestly unsupported by reason, demonstrate the
              conclusions of law were unsupported, lack legal validity,
              and constitutes an abuse of discretion.

Id. at 652.

       The Court of Appeals held that the trial court “failed to make required and

specific determinations of fact to demonstrate the trial court made supported


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conclusions of law. Upon remand, the trial court is to make the required findings of

fact and conclusions of law concerning visitation, family placement, and parental

involvement in medical treatment in the best interests of each child for each

respective parent of each child.” Id.
       Petitioners filed a petition for discretionary review of the Court of Appeals’

opinion. In their amended petition for discretionary review,4 petitioners brought forth

the following issues: (1) the Court of Appeals’ published opinion misstated that clear,

cogent, and convincing evidence was the dispositional standard of proof, which is

contrary to this Court’s well-settled caselaw; (2) the Court of Appeals took on the role

of fact-finder and acted inconsistently with this Court’s mandate when it reweighed

the evidence and considered only the “properly admitted” evidence; and (3) the Court

of Appeals’ published opinion erroneously required the trial court to find that the

parents had acted inconsistently with their constitutionally protected rights to order

no visitation.

                             II.    Standard of Review

              [Appellate courts] review the trial court’s dispositional
              findings of fact to determine whether they are supported
              by competent evidence. The trial court’s assessment of a
              juvenile’s best interests at the dispositional stage is
              reviewed solely for abuse of discretion. An abuse of
              discretion results where the court’s ruling is manifestly
              unsupported by reason or is so arbitrary that it could not
              have been the result of a reasoned decision.


       4 Petitioners amended the petition for discretionary review to clarify that they are

seeking review only as it relates to Margaret.

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In re T.A.M., 378 N.C. 64, 76 (2021) (extraneity excluded); accord In re A.J.L.H., 384

N.C. at 57.

      We have repeatedly used this standard of review when reviewing a trial court’s

disposition order, as has the Court of Appeals. In re M.S.E., 378 N.C. 40, 60 (2021);

In re K.N.K., 374 N.C. 50, 57 (2020); In re A.J.A-D., No. COA19-270, slip op. at 11

(Feb. 4, 2020) (unpublished) (Dietz, J., with Stroud and Hampson, J.J.) (“However,

when making its best interests determination, the trial court need only make

dispositional findings that are ‘supported by competent evidence.’ By employing the

heightened ‘clear, cogent and convincing standard of proof in making its dispositional

findings, the trial court misapplied the relevant evidentiary standard.’ ” (extraneity

excluded)).

      However, in the present case, the Court of Appeals deviated from this

standard. The Court of Appeals stated instead that, “Dispositional findings must be

based upon properly admitted and clear cogent and convincing evidence.” In re

A.J.L.H., 289 N.C. App. at 650 (citing In re B.C.T., 265 N.C. App. 176, 185 (2019)).

Not only is this the incorrect standard of review, but In re B.C.T.—the very case that

the Court of Appeals cited for support—does not support the Court of Appeals’

assertion. Moreover, N.C.G.S. § 7B-901(a) states, “The [trial] court may consider any

evidence, including hearsay evidence . . . including testimony or evidence from any

person who is not a party, that the court finds to be relevant, reliable, and necessary

to determine the needs of the juvenile and the most appropriate disposition.” N.C.G.S


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§ 7B-901(a) (2023). Accordingly, the Court of Appeals erred.

                                 III.    Analysis

      Petitioners advanced several arguments as to why the Court of Appeals erred:

(1) the Court of Appeals utilized the wrong standard of review when it analyzed the

trial court’s evidentiary rulings; (2) the Court of Appeals erroneously required the

trial court to find that the parents acted inconsistently with their constitutionally

protected status to order no visitation; (3) the Court of Appeals erroneously abrogated

N.C.G.S. § 7B-905.1 and created a novel constitutional rights analysis; (4) the Court

of Appeals erroneously determined that there was not sufficient evidence to support

the trial court’s findings of fact; and (5) the Court of Appeals erred by holding that

errors in findings of fact relating to other, non-appealing parties requires reversal of

the trial court. We agree with all of petitioners’ arguments. Accordingly, we reverse

the Court of Appeals and remand this case directly to the trial court.

      The Court of Appeals held, “The trial court failed to make specific

determinations for each parent regarding unfitness or conduct inconsistent with their

parental rights and, only after then, to determine whether parental visitation was in

the best interests of each of their children.” In re A.J.L.H., 289 N.C. App. at 652. In

doing so, the Court of Appeals established a novel two-step analysis for visitation.

First, the Court of Appeals would require the trial court to enter findings of fact on

each parent’s fitness to parent or “conduct inconsistent with their parental rights.”

Id. Only after making this determination could a trial court analyze a child’s best


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interests, according to the Court of Appeals’ opinion.

       Yet, the Juvenile Code provides: “An order that removes custody of a juvenile

from a parent, guardian, or custodian or that continues the juvenile’s placement

outside the home shall provide for visitation that is in the best interests of the juvenile

consistent with the juvenile’s health and safety, including no visitation.” N.C.G.S.

§ 7B-905.1(a) (2023) (emphasis added). Notably absent from the statute is any

requirement that the trial court make findings on a parent’s fitness to parent. It

appears that the Court of Appeals drew this requirement from how this Court reviews

a parent’s constitutionally protected status as a parent. See Price v. Howard, 346 N.C.

68, 79 (1997). This was error.

       In our first opinion in this case, we specifically stated, “Here, respondents did

not assert a constitutional challenge on this basis in the trial court and did not raise

the issue in their appellate briefing at the Court of Appeals. Accordingly, on remand,

the Court of Appeals should not address this constitutional issue.” In re A.J.L.H., 384

N.C. at 57, n.2. Not only did we direct the Court of Appeals to avoid this issue in our

last opinion, it was not preserved at the trial court. In other words—the Court of

Appeals erred when it sua sponte raised a constitutional issue. It merely compounded

its error when it continued to discuss this non-preserved issue in the face of a direct

statement from this Court directing the Court of Appeals to “not address [the]

constitutional issue.” Id. Not only did the Court of Appeals choose to address the non-

preserved issue in spite of our opinion, it did so without any briefing or argument


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from the parties.

       The Court of Appeals should have focused its review on whether the trial court

abused its discretion instead of performing a pseudo-constitutional analysis on the

respondents’ parental rights. As we already stated in our previous opinion:

              The assessment of the juvenile’s best interests concerning
              visitation is left to the sound discretion of the trial court
              and “appellate courts review the trial court’s assessment of
              a juvenile’s best interests solely for an abuse of discretion.”
              In re K.N.L.P., 380 N.C. 756, 759 (2022). “Under this
              standard, we defer to the trial court’s decision unless it is
              manifestly unsupported by reason or one so arbitrary that
              it could not have been the result of a reasoned decision.” Id.              Moreover, even in the rare cases in which we determine
              that a trial court acted arbitrarily and unreasonably, the
              remedy is to vacate the disposition order but to “express no
              opinion as to the ultimate result of the best interests
              determination on remand, as that decision must be made
              by the trial court.” In re R.D., 376 N.C. 244, 264 (2020).

In re A.J.L.H., 384 N.C. at 57.

       We now turn to the trial court’s dispositional order and apply the correct

standard of review.5 The trial court’s order contained several unchallenged findings

of fact demonstrating that it did not abuse its discretion in denying visitation.

Unchallenged findings of fact are binding on appeal. In re J.M., 384 N.C. 584, 591

(2023). Furthermore, a trial court’s “decisions as to the weight and credibility of the

evidence, and the inferences drawn from the evidence, are not subject to appellate

review.” Id. (extraneity excluded).


       5 We have already affirmed the trial court’s adjudication order. In re A.J.L.H., 384

N.C. 45, 57 (2023).

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      The following unchallenged facts were found by the trial court. Respondent-

mother “has extensive Child Protective Services (CPS) history” involving

inappropriate discipline of Margaret and an older sibling. In May of 2017, respondent

admitted using corporal punishment that left “marks” on Margaret’s arms. In May of

2010, Guilford County CPS substantiated a report of abuse by respondent-mother’s

boyfriend on then four-month-old Margaret, who “presented to the Emergency Room

with bruises on her forehead, both cheeks, and a scratch under her chin.” In April of

2013, respondent-mother’s boyfriend took Margaret to a babysitter and respondent-

mother did not pick her up for several days. Respondent-mother failed to admit or

understand that her discipline of Margaret was inappropriate and subjected

Margaret to trauma. Respondent-mother defended the use of such punishment.

      Furthermore, Margaret wrote a letter to the trial court saying:

             I don’t want to visit my mom because I don’t want to be
             hurt. I like it with grandma . . . because she treat[s] me
             great. I like where my sisters are. It wasn’t only my mom
             who whooped me it was [Anna’s father] to[o]. [Anna’s
             father] gave me scabs when he was whooping me. Only
             once my mom tried to choke me.

Although this letter was challenged on hearsay grounds, N.C.G.S § 7B-901(a)

specifically allows hearsay evidence to be considered in disposition hearings.

      As explained above,

             The assessment of the juvenile’s best interests concerning
             visitation is left to the sound discretion of the trial court
             and “appellate courts review the trial court’s assessment of
             a juvenile’s best interests solely for an abuse of discretion.”
             In re K.N.L.P., 380 N.C. 756, 759 (2022). “Under this

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             standard, we defer to the trial court’s decision unless it is
             manifestly unsupported by reason or one so arbitrary that
             it could not have been the result of a reasoned decision.” Id.
In re A.J.L.H., 384 N.C. at 57. Upon reviewing the facts of this case, it cannot be said

that the trial court’s order was “manifestly unsupported by reason” or was “so

arbitrary that it could not have been the result of a reasoned decision.” Id.

      The Court of Appeals also held that, the “trial court failed to find and make

conclusions of law addressing the factors applicable to visitation for each child with

each parent.” In re A.J.L.H., 289 N.C. App. at 651. Further, “[t]he trial court made no

findings or conclusions regarding why only one parent, Chris’s biological father, was

entitled to supervised visitation with his child, but the other three biological parents

were denied any and all visitation, placement with children’s family or relatives, or

presence and participation in their medical care.” Id. Notably, Chris’s biological

father and Margaret’s biological father did not appeal the trial court’s decision. As

DHHS aptly notes, “[t]here is no precedent which allows the Court of Appeals to

assert an appeal on behalf of a non-appealing party.” Moreover, even if they had

appealed, no statutory provision or caselaw requires a trial court make findings

differentiating between the parties.

                                IV.     Conclusion

      The first time this case was before this Court, we remanded to the Court of

Appeals. On remand, the Court of Appeals made numerous and significant errors.

First, the Court of Appeals erred when it stated that the dispositional findings must


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be based upon properly admitted and clear, cogent, and convincing evidence. Second,

the Court of Appeals erred when it stated it can only review “properly admitted

evidence” in disposition hearings. Third, the Court of Appeals erred when it required

the trial court to make specific findings for each parent regarding unfitness or conduct

inconsistent with their parental rights. Fourth, the Court of Appeals erred when it

addressed, sua sponte, the constitutional rights of respondents. Fifth, the Court of

Appeals erred when it determined there was insufficient evidence to support the trial

court’s order denying visitation. Sixth, finally, the Court of Appeals erred when it

held the trial court was required to differentiate between respondents when no such

requirement exists by statute or caselaw. Accordingly, we reverse the Court of

Appeals’ opinion.

      REVERSED.




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